Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 1 of 10 PageID #:83




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Alan Shields,                               )
                                            )
                       Plaintiff,           )
                                            )
                -vs-                        )   No. 17-cv-6689
                                            )
City of Chicago, Robert Bandola,            )   Judge St. Eve
Shane Coleman, Michael McAuliffe,           )
Patrick Josephs, Wayne Wiberg,              )   Magistrate Judge Martin
Jacob Wojtaczka, and Raul Nava,             )
                                            )
                                            )
                       Defendants.          )

                             AMENDED COMPLAINT

       Plaintiff Alan Shields, by counsel and pursuant to leave of Court, ECF No.

24, alleges as follows:

       1.    This is a civil action arising under Section 202 of the Americans with

Disabilities Act, 42 U.S.C. §12132 and 42 U.S.C. §1983. The jurisdiction of this

Court is conferred by 28 U.S.C. §12133 and 28 U.S.C. § 1343.

       2.    Plaintiff Alan Shields is a resident of the state of Illinois.

       3.    Defendant City of Chicago is an Illinois municipal corporation.

       4.    At all times relevant, defendants Robert Bandola (Star 7610), Shane

Coleman (Star 15359), Michael McAuliffe (Star 17404), Patrick Josephs (Star

1448), Wayne Wiberg (Star 514), Jacob Wojacka (Star 18257), and Raul Nava

(Star 4496) were employed by the Chicago Police Department and acted under

color of law. Plaintiff sues each in their individual capacity.
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 2 of 10 PageID #:83




       5.    Plaintiff Shields is a disabled resident of Illinois. He is substantially

limited in the ability to move from place to place and, in June of 2016, required

ambulatory aids to move because of paraplegia.

       6.    At approximately 11:00 p.m. on June 6, 2016 plaintiff, who was using

crutches to ambulate, was stopped in an alley by defendants McAuliffe and

Coleman.

       7.    Defendant Coleman approached plaintiff and ordered plaintiff to

place his hands on the police vehicle.

       8.    Plaintiff objected to defendant Coleman’s order to put down the

crutches and told him that without crutches he was at serious risk of falling.

Defendant did not acquiesce to plaintiff’s request.

       9.     Defendant Coleman then began to search under plaintiff’s armpits

which caused plaintiff to lose balance and fall.

       10.   While on the ground, defendant Coleman cuffed plaintiff’s hands

behind his back. Defendants Coleman and McAuliffe gave plaintiff several

commands to stand up. Plaintiff repeatedly told defendants he was paraplegic

and thus unable to stand.

       11.   Defendants Coleman and McAuliffe then dragged plaintiff near the

door of the police vehicle and threw him in the backseat. Plaintiff was transported

to the 7th District.

       12.   Defendants Coleman and McAuliffe had no reason to arrest plaintiff.




                                         -2 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 3 of 10 PageID #:83




       13.   After arriving at the 7th District, defendants Coleman and McAuliffe

ordered plaintiff to ambulate from the police vehicle to the station without any

ambulatory aid.

       14.   Plaintiff repeatedly told Coleman and McAuliffe that he was disabled

and could not ambulate without crutches.

       15.   Defendants Coleman and McAuliffe then summoned the attention of

defendant Sergeant Josephs and several other police officers. Collectively these

officers started to drag plaintiff into the 7th District. Prior to entering the police

station, however, the handcuffs were removed and plaintiff was allowed to use

crutches to ambulate.

       16.   In the processing room defendants Coleman, McAuliffe, Bandola,

Sgt. Josephs, Lt. Wiberg, Wojtaczka, and Nava proceeded to use unreasonable

force on plaintiff.

       17.   The individual defendants then cuffed one of plaintiff’s hands and

proceed to drag him on the floor of the 7th District as depicted below in the City’s

surveillance video:




                                         -3 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 4 of 10 PageID #:83




         18.   At all relevant times, the individual defendants knew plaintiff was

unable to walk and requested medical attention caused by the unreasonable

force.

         19.   The individual defendants all participated in dragging plaintiff to cell

09 where he was left on the floor without crutches.

         20.   After being placed in cell 09, plaintiff made numerous requests to

defendants for medical attention. When defendants failed to respond to his

requests for medical care, plaintiff started a fire.

         21.   The individual defendants then dragged plaintiff from cell 09 and

resumed using unreasonable force by stomping on his body.

         22.   Plaintiff was subsequently transferred to Mt. Sinai Hospital where he

was treated for difficulty breathing following an assault, documented as having a

crushed larynx, and intubated.

         23.   After plaintiff was transported to a hospital, the individual defendants

completed paperwork regarding plaintiff’s arrest and processing.

         24.   Part of this paperwork included a Tactical Response Report (TRR), a

document required when a police officer uses force on an arrestee.

         25.   A day after the TRR’s were completed, defendant Wiberg, a

Lieutenant at the time, approved the use of force by the officers under his

command.

         26.   The same day Randall Darlin, the Commander of the 7th District,

approved defendant Wiberg’s use of force on plaintiff. Commander Darlin



                                           -4 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 5 of 10 PageID #:83




determined the use of force on plaintiff was consistent with the Police

Department’s policies and procedures.

       27.    Plaintiff also requested the Independent Police Review Authority

(IPRA) to investigate the use of force by the individual defendants.

       28.    IPRA took a statement from plaintiff, obtained all police department

records relating to plaintiff’s arrest, including surveillance video, and interviewed

two members of the Chicago Fire Department. IPRA, however, did not interview

any member of the Chicago Police Department regarding plaintiff’s allegation of

misconduct.

       29.    IPRA did not recommend to the Chicago Police Department that the

individual defendants be disciplined.

       Count I:       City of Chicago Violated the ADA

       30.    At all times relevant, plaintiff was a qualified person with a disability

covered by the Americans with Disabilities Act.

       31.    Defendant City of Chicago denied plaintiff the benefits of the

services, programs, or activities of the entity or otherwise subjected plaintiff to

discrimination.

       32.    Plaintiff was deprived the ability to ambulate with his auxiliary aids

during his stop and subsequent detention at the 7th District. To move about the

7th District, employees of defendant City of Chicago primarily dragged plaintiff on

the ground or carried him.




                                          -5 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 6 of 10 PageID #:83




        33.   The above described discrimination was solely because of plaintiff’s

paraplegia.

        34.   Defendant City of Chicago was deliberately indifferent to plaintiff’s

rights under the ADA.

        Count II:      Unlawful Arrest by Defendants Coleman and
                       McAuliffe

        35.   During the evening of June 6, 2016, defendants Coleman and

McAuliffe arrested plaintiff.

        36.   Defendants Coleman and McAuliffe did not have any probable cause

to arrest plaintiff.

        37.   Defendants Coleman and McAuliffe violated plaintiff’s right to be free

from false arrest provided by the Fourth Amendment to the United States

Constitution.

        Count III: Unreasonable Force

        38.   For the reasons previously stated, defendants Coleman, McAuliffe,

Bandola, Sgt. Josephs, Lt. Wiberg, Wojtaczka, and Nava used unreasonable

force on plaintiff.

        39.   The unreasonable use of force violated plaintiff’s rights secured by

the Fourth Amendment to the United States Constitution and caused him to be

injured.




                                         -6 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 7 of 10 PageID #:83




       Count IV: Denial of Medical Attention

       40.   While at the 7th District, plaintiff pleaded with the individual

defendants for medical attention for his serious personal injuries.

       41.   It was obvious to all individual defendants that plaintiff required

medical attention.

       42.   Prior to being placed in cell 09, defendants denied plaintiff medical

attention.

       43.   Defendants’ actions were unreasonable and violated plaintiff’s rights

under the Fourth Amendment to the Constitution.

       Count V: Monell Claim Against City of Chicago

       44.   At all relevant times, the Chicago Police Department has engaged in

a pattern or practice of unreasonable force due, in part, to deficiencies in training,

supervision, and accountability.

       45.   During this period, the City structured its affairs to delegate complete

responsibility to IPRA to investigate and recommend discipline to the CPD for a

department member accused of excessive force.

       46.   IPRA was understaffed and limited by a collective bargaining

agreement relating to the ability to investigate police officers. For example, a

collective bargaining agreement with the Fraternal Order of Police barred IPRA

from interviewing an accused police officer until all other investigative steps of

the investigative process was complete. This substantially impaired IPRA’s ability




                                         -7 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 8 of 10 PageID #:83




to investigate misconduct and resulted in no discipline for officers who used

unreasonable force.

        47.   The Police Accountability Task Force Report found that the

“collective bargaining agreements between the police unions and the City have

essentially turned the code of silence into official policy.”

        48.   The CPD had no jurisdiction over IPRA and the CPD Superintendent

had no power to discipline a police officer for an incident under investigation by

IPRA.

        49.   Garry McCarthy, the former Superintendent of the CPD, believed the

disciplinary system was dysfunctional because he had “accountability but no

authority.” McCarthy conveyed this concern to the Mayor, Corporation Counsel,

and Chief of Staff for the Mayor.

        50.   It was common knowledge among CPD members that the policy to

refer citizen complaints of misconduct to IPRA would not result in immediate

adverse disciplinary process. CPD members also knew that many IPRA

investigations were closed without a request by IPRA to provide a statement.

        51.   Here, Sgt. Josephs and Lt. Wiberg each had more than five

allegations of unreasonable force. As a result of the dysfunctional disciplinary

system, neither Josephs nor Wiberg had adverse disciplinary action as a result of

these complaints.




                                          -8 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 9 of 10 PageID #:83




       52.   When plaintiff was detained in the 7th District beginning on June 6,

2016, the individual defendants knew the City had an inadequate policy or

practice to hold officers accountable for excessive force.

       53.   Despite knowing that video was preserved in the 7th District showing

unreasonable use of force applied to plaintiff, the individual defendants knew

there would be no adverse disciplinary consequences as a result of the policy to

defer to IPRA to investigate misconduct.

       54.   In addition, Sgt. Josephs and Lt. Wiberg knew from past experience

that it was highly unlikely that IPRA would recommend discipline against all

individual defendants.

       55.   Consistent with the City’s pattern or practice, IPRA did not request

any individual defendant to provide a statement relating to plaintiff’s allegation of

unreasonable force. Accordingly, IPRA closed the investigation.

       56.   In 2016, Mayor Emmanuel acknowledged the existence of a code of

silence within the police department where police officers concealed misconduct.

       57.   In addition, the United States Justice Department issued a report on

January 13, 2017 finding reason to believe the police department has engaged in

a pattern or practice of unreasonable force due, in part, to deficiencies in training,

supervision, and accountability.

       58.   The above widespread pattern or practice was deliberately indifferent

to plaintiff’s rights secured under the United States Constitution and was the

moving force behind his injuries.



                                         -9 -
Case: 1:17-cv-06689 Document #: 28 Filed: 12/20/17 Page 10 of 10 PageID #:83




       59.   Plaintiff demands trial by jury on his claim for damages.

       It is therefore respectfully requested that the Court grant compensatory

damages and that punitive damages be awarded against the individual

defendants. Finally, plaintiff requests that the Court grant whatsoever other relief

may be appropriate, including an award of attorney’s fees and costs.



                                      /s/ Patrick W. Morrissey
                                          Thomas G. Morrissey, Ltd.
                                          10150 S. Western Ave., Ste. Rear
                                          Chicago, Illinois 60643
                                          patrickmorrissey1920@gmail.com
                                          (773) 233-7900
                                          Attorney for Plaintiff




                                        -10-
